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                                      COURTROOM MINUTE SHEET



CRIMINAL CASE NO. CR-08-62-D

UNITED STATES OF AMERICA v. D’Angelo Tyree McCorvey

PROCEEDING:           Hearing on Supervised Release

COMMENCED         9:30     ENDED      10:15     TOTAL TIME        45 minutes

JUDGE TIMOTHY DeGIUSTI               CLERK MIKE BAILEY              REPORTER SUSAN FENIMORE

GOV’T COUNSEL         David McCrary

DEFT COUNSEL          Bill Earley

Defendant Appears in person with assistant Public Defender

Gov’t Exhibits Admitted

Deft Exhibit’s Admitted

        WITNESS(ES) FOR GOVERNMENT                              WITNESS(ES) FOR DEFENDANT

   1.                                                      1.
   2.                                                      2.
   3.                                                      3.
   4.                                                      4.
   5.                                                      5.

        Defendant Remanded to Custody         Defendant Released on Conditions

ENTER ORDER: Hearing held. Defendant advised of the allegations in the 2nd Amended Petition and

stipulates to Violation number 1 and admits Violations 2-5. The Court finds the violations are

established and continues disposition for 60 days.
